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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                               )
                                                        )              8:05CR220
                         Plaintiff,                     )
                                                        )
        vs.                                             )               ORDER
                                                        )
FRANCIS SCHRAM,                                         )
                                                        )
                         Defendant.                     )



        This matter is before the court on the motion to continue by defendant Francis Schram (Schram)

(Filing No. 32). Schram seeks a continuance of the trial of this matter now scheduled for October 31,

2005. Schram seeks a continuance to complete plea negotiations. The deadline for filing pretrial motions

has been extended twice to provide Schram an opportunity to explore a plea agreement. See Filing Nos.

23, 25, 28 and 29. There has been adequate time to explore such an agreement. Further there is

additional time to reach such an agreement before the end of the month when trial is scheduled. Schram

has shown no good reason to further continue this matter. Accordingly, Schram's motion to continue

(Filing No. 32) is denied.



        IT IS SO ORDERED.



        DATED this 7th day of October, 2005.

                                                        BY THE COURT:

                                                        s/ Thomas D. Thalken
                                                        United States Magistrate Judge
